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     Proposed Co-Lead Counsel for Movant
14
15                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
16
      AMRAM GALMI, Individually and               )   Case: 2:16-cv-08259-TJH-AS
17    on behalf of all others similarly           )
      situated,                                   )   DATE:        February 6, 2017
18                                                )   TIME:        UNDER SUBMISSION
            Plaintiff,                            )   CTRM:        9B
19                                                )   JUDGE:       Hon. Terry J. Hatter
            v.                                    )
20                                                )
      TEVA PHARMACEUTICAL                         )
21    INDUSTRIES LIMITED, EREZ                    )
      VIGODMAN, and EYAL DESHEH                   )
22                                                )
23          Defendants.                           )
      (Additional caption on next page)
24
25   DECLARATION OF JENNIFER PAFITI IN SUPPORT OF THE MOTION
       OF OREGON PUBLIC EMPLOYEES RETIREMENT SYSTEM, THE
26   PUBLIC SCHOOL TEACHERS’ PENSION AND RETIREMENT FUND OF
         CHICAGO AND DAN KLEINERMAN FOR CONSOLIDATION,
27     APPOINTMENT AS LEAD PLAINTIFF AND APPROVAL OF LEAD
                            COUNSEL
28
           DECLARATION OF JENNIFER PAFITI IN SUPPORT OF THE MOTION OF THE TEVA INVESTOR GROUP FOR
                    CONSOLIDATION, APPOINTMENT AS LEAD PLAINTIFF AND APPROVAL OF LEAD COUNSEL
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 1
 2   ANTHONY LEONE, Individually and )
     on behalf of all others similarly ) Case No. 2:16-cv-09545-DSF-AFM
 3   situated,                         )
                                       )
 4          Plaintiff,                 )
                                       )
 5          v.                         )
                                       )
 6   TEVA PHARMACEUTICAL               )
     INDUSTRIES LIMITED, EREZ          )
 7   VIGODMAN, EYAL DESHEH, and        )
     KOBI ALTMAN                       )
 8                                     )
     Defendants.                       )
 9                                     )
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          DECLARATION OF JENNIFER PAFITI IN SUPPORT OF THE MOTION OF THE TEVA INVESTOR GROUP FOR
                   CONSOLIDATION, APPOINTMENT AS LEAD PLAINTIFF AND APPROVAL OF LEAD COUNSEL

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 1         I, JENNIFER PAFITI, declare as follows:
 2         1.     I am an attorney duly licensed to practice law in the state of California
 3
     and in this Court. I am a partner with the law firm of Pomerantz LLP (“Pomerantz”),
 4
     Proposed Co-Counsel for the Class. I make this declaration in support of the Motion
 5
     for Consolidation, Appointment as Lead Plaintiff, and Approval of Selection of
 6
     Counsel made by Oregon Public Employees Retirement System (“Oregon PERS”),
 7
     the Public School Teachers’ Pension and Retirement Fund of Chicago (“Chicago
 8
     Teachers”) and Dan Kleinerman (“Kleinerman,” and together with Oregon PERS
 9
     and Chicago Teachers, the “Teva Investor Group” or “Movant”). I have personal
10
11   knowledge of the following, and can and do competently testify hereto.

12         2.     Attached hereto as Exhibit A is a true and correct copy of the initial
13   press release announcing a securities class action involving the securities of Teva
14   Pharmaceutical Industries Inc., dated November 6, 2016, published on PR
15   Newswire.
16         3.     Attached as Exhibit B is a true and correct copy of the securities class
17   action certification executed by Oregon PERS.
18         4.     Attached as Exhibit C is a true and correct copy of the securities class
19   action certification executed by Chicago Teachers.
20         5.     Attached as Exhibit D is a true and correct copy of the securities class
21   action certification executed by Dan Kleinerman.
22
           6.     Attached as Exhibit E is a chart of Oregon PERS’ estimated losses from
23
     its transactions in Teva securities during the Class Period.
24
           7.     Attached as Exhibit F is a chart of Chicago Teachers’ estimated losses
25
     from its transactions in Teva securities during the Class Period.
26
27
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            DECLARATION OF JENNIFER PAFITI IN SUPPORT OF THE MOTION OF THE TEVA INVESTOR GROUP FOR
                     CONSOLIDATION, APPOINTMENT AS LEAD PLAINTIFF AND APPROVAL OF LEAD COUNSEL

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 1         8.     Attached as Exhibit G is a chart of Dan Kleinerman’s estimated losses
 2   from his transactions in Teva securities during the Class Period.
 3         9.     Attached as Exhibit H is the Joint Declaration of Oregon PERS,
 4   Chicago Teachers and Daniel Kleinerman in support of the Motion.
 5         10.    Attached as Exhibit I is the firm resume of Cohen Milstein, proposed
 6
     Co-Lead Counsel.
 7
           11.    Attached as Exhibit J is the firm resume of Pomerantz LLP, proposed
 8
     Co-Lead Counsel.
 9
10   DATED: January 5, 2017            POMERANTZ LLP
11                                     /s/ Jennifer Pafiti
12                                     Jennifer Pafiti
                                       468 North Camden Drive
13                                     Beverly Hills, CA 90210
14                                     Telephone: (818) 532-6499
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            DECLARATION OF JENNIFER PAFITI IN SUPPORT OF THE MOTION OF THE TEVA INVESTOR GROUP FOR
                     CONSOLIDATION, APPOINTMENT AS LEAD PLAINTIFF AND APPROVAL OF LEAD COUNSEL

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 1      PROOF OF SERVICE VIA ELECTRONIC POSTING PURSUANT TO
         CENTRAL DISTRICT OF CALIFORNIA LOCAL RULES AND ECF
 2                     GENERAL ORDER NO. 10-07
 3
           I, the undersigned, say:
 4
            I am a citizen of the United States and am employed in the office of a member
 5   of the Bar of this Court. I am over the age of 18 and not a party to the within action.
     My business address is 468 North Camden Drive, Beverly Hills, CA 90210.
 6
           On January 5, 2017, I caused to be served the following documents:
 7
           DECLARATION OF JENNIFER PAFITI IN SUPPORT OF THE
 8         MOTION OF OREGON PUBLIC EMPLOYEES RETIREMENT
 9         SYSTEM, THE PUBLIC SCHOOL TEACHERS’ PENSION AND
           RETIREMENT FUND OF CHICAGO AND DAN KLEINERMAN FOR
10         CONSOLIDATION, APPOINTMENT AS LEAD PLAINTIFF AND
           APPROVAL OF LEAD COUNSEL
11
             By posting the documents to the ECF Website of the United States District
12   Court for the Central District of California, for receipt electronically by the parties
     as listed on the attached Service List.
13
           And on any non-ECF registered parties:
14
            By Mail: By placing true and correct copies thereof in individual sealed
15   envelopes, with postage thereon fully prepaid, which I deposited with my employer
     for collection and mailing by the United States Postal Service. I am readily familiar
16   with my employer’s practice for the collection and processing of correspondence for
     mailing with the United States Postal Service. In the ordinary course of business,
17   this correspondence would be deposited by my employer with the United States
18   Postal Service that same day.

19        I certify under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct. Executed on January 5, 2017, at
20   Beverly Hills, California.
21
                                              /s/ Jennifer Pafiti
22                                            Jennifer Pafiti
23
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            DECLARATION OF JENNIFER PAFITI IN SUPPORT OF THE MOTION OF THE TEVA INVESTOR GROUP FOR
                     CONSOLIDATION, APPOINTMENT AS LEAD PLAINTIFF AND APPROVAL OF LEAD COUNSEL

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